EXHIBIT 1
                    CLASS ACTION SETTLEMENT AGREEMENT

       Subject to final approval by the Court and in exchange for valuable consideration as

set forth herein, this Class Action Settlement Agreement (the “Agreement”) dated as of

December 8, 2015 is entered into by and between Andréa Spence (the “Class Representative”

or “Plaintiff”), on behalf of herself and the Settlement Class Members as defined herein, and

Cavalry Portfolio Services LLC (“CPS”) and Cavalry SPV I, LLC (“SPV”) (collectively

“Cavalry” or “Defendants”).

       WHEREAS, Ms. Spence filed a class action complaint against Cavalry in the Suffolk

County Superior Court on March 13, 2014, Case No. 2014-00850BLS2, which was removed

to this Court on June 26, 2014, and which alleged, inter alia, certain violations of the Fair

Debt Collections Practices Act, 15 U.S.C. § 1692, et seq., and Chapter 93A, with respect to

the assessment of and or collection of interest on charged off credit card accounts SPV

purchased from FIA Card Services, N.A. (the “Litigation”);

       WHEREAS, Cavalry denies the material allegations made in the Litigation and

denies any and all liability with respect to the allegations made in the Litigation and further

denies that the Settlement Class Members have suffered any damage or are entitled to any

recovery;

       WHEREAS, Class Counsel have conducted an extensive investigation into the facts

and law relating to the Litigation, through both formal and informal discovery, including

document requests, interrogatories, Rule 30(b)(6) depositions, and a third party deposition;

       WHEREAS, based on their review and analysis of the relevant facts and legal

principles, Class Counsel believe that, in consideration of all the circumstances and after

prolonged and serious arms’ length settlement negotiations, the terms and conditions
embodied in this Settlement are fair, reasonable, and adequate, and beneficial to and in the

best interests of the Class Representative and the proposed Settlement Class (as defined

below), based upon the following substantial benefits that the Settlement bestows upon the

Settlement Class:

       (i)     Cavalry will pay $550,333 into a Settlement Fund which will be used to
       provide monetary relief to Settlement Class Members, as described below, and
       subject to Court approval:
               a. Settlement Class Members who paid to Cavalry any Prepurchase Interest,
                   as defined below, will be entitled to a full refund of Prepurchase Interest
                   Paid, as defined below;
               b. Settlement Class Members who did not pay any Prepurchase Interest will
                   be entitled to a payment of $20; and
               c. Plaintiff, as the Class Representative, will receive an incentive payment of
                   $7,500;
               d. Settlement Class Members from whom Cavalry sought to collect
                   Prepurchase Interest within the time period beginning on or after March
                   13, 2013 will be entitled to an additional, equal share of the Settlement
                   Fund remaining after deduction for refunds, the $20 payments, and the
                   incentive payment, described in (a), (b), and (c).

       (ii)   For All Settlement Class Members for whom Cavalry still owns and/or
       services their accounts, Cavalry will forgive all Prepurchase Interest remaining on
       their Accounts, an amount that exceeds $2 million in total;

       (iii) Cavalry will pay the costs of class notice and administration of the Settlement
       Agreement;

       (iv)   Cavalry will pay attorneys’ fees of up to $275,167 and costs of $9,000, subject
       to Court approval.


       NOW THEREFORE, in consideration of the covenants and agreements contained in

this Settlement Agreement, and subject to approval by the Court as provided herein pursuant

to Fed. R. Civ. 23, the Class Representative, the Settlement Class, and Cavalry agree to the

settlement of the Litigation, and that the Litigation and the Settled Claims against the

Released Persons are fully and finally compromised, settled and released and that the

Litigation shall be dismissed with prejudice subject to the following terms and conditions:



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   I.      DEFINITIONS.
   The following terms shall have the following meanings in this Settlement Agreement and

the annexed exhibits.

        1.01.   “Account” means a credit card account purchased by Cavalry SPV I, LLC

from FIA Card Services, Inc., on which a Settlement Class Member is named as the obligor.

        1.02.   “Agreement” means this Settlement Agreement.

        1.03.   “Class Counsel” means Charles Delbaum and Stuart Rossman of the National

Consumer Law Center and the Elizabeth Ryan and John Roddy of Bailey & Glasser LLP.

        1.04.   “Class Period” means the period from March 14, 2010 through the present.

        1.05.   “Cavalry” means Cavalry Portfolio Services, LLC and Cavalry SPV I, LLC,

collectively.

        1.06    “CPS” means Cavalry Portfolio Services, LLC.

        1.07.   “Distribution Date” means twenty (20) days after the Effective Date.

        1.08.   “Effective Date” of this Agreement means the date after the entry by the Court

of the Final Order Approving Class Action Settlement (the “Final Approval Order”) and (a)

when the applicable period for the filing or noticing of an appeal of such Final Approval

Order shall have expired without an appeal having been filed; or (b) if an appeal is taken,

upon entry of an order affirming the Final Approval Order and when the applicable period

for the filing or noticing of an appeal or petition for review of such affirmance of the Final

Approval Order shall have expired without a further appeal or petition for review having

been filed, or upon entry of any stipulation dismissing any such appeal with no right of

further prosecution of the appeal; or (c) if an appeal is taken from or a petition for review is

filed relating to any decision affirming the Final Approval Order, upon entry of an order in

such appeal finally affirming the Final Approval Order or dismissing such petition for review


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without right of further appeal or upon entry of any stipulation dismissing any such appeal

with no right of further prosecution of the appeal.

       1.09.    “Notice” means the Notice of Proposed Settlement, substantially in the form

of Exhibit A.

       1.10.    “Parties” means the Class Representative, the Settlement Class and Cavalry.

       1.11.    “Preliminary Approval” of this Agreement means that the Court has entered

an order, substantially in the form of Exhibit B to this Agreement, conditionally certifying a

settlement class and preliminarily approving the terms and conditions of this Agreement,

including the manner of providing notice to the Settlement Class.

       1.12.    “Prepurchase Interest” means interest CPS assessed on a Settlement Class

Member’s Account for a time period after the Account was charged off by FIA and prior to

the date SPV purchased the Account.

       1.13.    “Prepurchase Interest Paid” means the amount paid by a Settlement Class

Member, if any, that exceeds the sum of (a) the charge-off balance of the Account plus (b)

the amount of interest assessed post charge-off by FIA (if applicable), and (c) the amount of

interest assessed by CPS applicable to any time period post-acquisition.

       1.14.    “Released Claims” means and includes any and all claims, demands, actions,

causes of action, rights, offsets, suits, damages, lawsuits, liens, costs, losses, expenses or

liabilities of any kind whatsoever, for any relief whatsoever, whether known or unknown,

arising from the facts alleged in the Amended Complaint.

       1.15.    “Released Persons” are defined to include Cavalry Portfolio Services, LLC

and Cavalry SPV I, LLC, their affiliates, and all of their respective members, officers,




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directors, affiliates, subsidiaries, parents, partners, insurers, employees, associates, trustees,

agents, accountants, attorneys, predecessors, successors and assigns.

        1.16.   “Settlement Administrator” means Kurtzman Carson Consultants, LLC, the

independent class action settlement administration company retained by Cavalry for purposes

of administering the Settlement.

        1.17.   “Settlement Class Members” means those individuals who meet the class

definition contained in paragraph 2.01 and who have not timely and validly excluded

themselves from the Settlement pursuant to paragraph 5.04. (The Settlement Class Members

are also referred to collectively as the “Settlement Class”).

        1.18.   “Settlement Fund” means the sum of $550,333, which Cavalry will provide

the Settlement Administrator for purposes of implementing this Settlement, and which will

be used to provide monetary relief to Settlement Class Members. The Settlement Fund shall

be held in a segregated, interest bearing account to be established by the Settlement

Administrator. The Settlement Fund shall also include amounts payable to the Settlement

Fund pursuant to Paragraph 4.02(b), if any.

        1.19    “SPV” means Cavalry SPV I, LLC.

II.     CERTIFICATION OF SETTLEMENT CLASS.

        2.01.   Class Certification For Settlement Purposes. For the purposes of settlement and

the proceedings contemplated herein, the Parties stipulate and agree that a Settlement Class as

set forth below shall be conditionally certified, that Andréa Spence shall be the Class

Representative and her counsel of record, Elizabeth Ryan and John Roddy of Bailey &

Glasser LLP, and Charles Delbaum and Stuart Rossman of the National Consumer Law

Center, shall be appointed as Class Counsel for the Settlement Class. The Settlement Class is




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composed of: (a) all individuals who at any time during the Class Period maintained an

address in Massachusetts; (b) whose credit card debt SPV purchased from FIA Card Services,

Inc.; (c) where FIA Card Services, Inc. had ceased charging interest to the debt prior to SPV’s

purchase; (d) CPS added interest for a period prior to the date SPV purchased the debt; and (e)

during the Class Period CPS sought to collect such additional Prepurchase Interest, and/or

reported a balance including such interest to a credit reporting agency; (f) against whom

Cavalry has not obtained a judgment or release as of the date of this Agreement; and/or (g)

who have not filed for or obtained a discharge in bankruptcy applicable to the Account.

       2.02.      In connection with the application for Preliminary Approval of this

Agreement, the Parties shall request that the Court enter an order in the form annexed hereto

as Exhibit B, inter alia, conditionally certifying a Settlement Class in accordance with the

definition of paragraph 2.01, appointing the Plaintiff as the Settlement Class Representative

and appointing her counsel of record as Class Counsel, and granting Preliminary Approval to

the Settlement.

III.   RELIEF FOR SETTLEMENT CLASS MEMBERS.

       3.01       Monetary Relief. To resolve this litigation, the following relief will be

provided to Settlement Class Members:

       a.         Within 10 days of the Effective Date, Cavalry will provide to the Settlement

Administrator the sum of $550,333 (the Settlement Fund). This Settlement Fund shall be

used to provide monetary relief to Settlement Class Members, as described below, and an

incentive award to the Class Representative of $7,500, subject to Court approval.

       b.         Within 10 days of Cavalry’s deposit of the Settlement Fund with the

Settlement Administrator, the Settlement Administrator will issue checks to Settlement Class




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Members for each class members’ Settlement Share, calculated in accordance with paragraph

(c) below;

         c.     Each Settlement Class Member shall be entitled to the following Settlement

Share:

                (i) the greater of either Prepurchase Interest Paid or $20.00; and

                (ii) if Cavalry attempted to collect on the Settlement Class Member’s Account

         on or after March 13, 2013, an equal share of the Settlement Fund remaining after

         deduction of the Incentive Award and the amounts described in paragraph (i) above.

         d.     Within 10 days of the Effective Date Cavalry shall permanently abandon and

forgive any claim to any Prepurchase Interest remaining on Settlement Class Members’

Accounts still owned and/or serviced by Cavalry, shall cease efforts to collect such amounts,

and shall reduce the balances on the Accounts accordingly. Such reduction shall not

constitute a credit or payment on the Account for statute of limitations purposes; and

         e.     Within 45 days of the Effective Date, as to any Settlement Class Member

Account for which Cavalry is currently furnishing information to a consumer reporting

agency, such as Equifax, Experian, Transunion, and Innovis (collectively “credit reporting

agencies”), Cavalry shall transmit a request by tape, other electronic media, or manual

method to reflect the removal of any Prepurchase Interest from the Accounts of the

Settlement Class Members. If, after at least 90 days from the Effective date, one or more of

the credit reporting agencies does not make the requested changes, upon written request by

Class Counsel or the Settlement Class Member, Cavalry shall complete and submit to such

agency or agencies a universal data form reflecting the removal of any Prepurchase Interest

for any member of the Settlement Class promptly. Cavalry shall only be required to make up




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to two requests to the credit reporting agencies with respect to any particular Settlement

Class Member, and Cavalry shall have no further obligation to take further steps to insure

that the credit reporting agencies reduce the balances of Settlement Class Members’

Accounts to reflect the forgiven interest.

       3.02.   Attorneys’ Fees And Costs.

       (a)     Also within 10 days of the Effective Date, Cavalry will provide to the

Settlement Administrator an additional sum of $284,167. This amount shall be used by the

Settlement Administrator to pay attorneys’ fees and costs, as approved by the Court;

       (b) The Parties understand that the Class Representative intends to apply to the Court

for approval of an award of attorneys’ fees and expenses from the Settlement Fund in an

amount not to exceed $275,167, plus costs of $9,000. Cavalry agrees not to oppose any

request for fees and expenses up to these amounts. The Settlement Administrator shall pay

the amount of attorneys’ fees and expenses awarded by the Court subject to the terms of this

Settlement. Any attorneys’ fees and expenses so awarded shall be payable upon the

Distribution Date. Any amount from the $284,167 that is not paid out in attorneys’ fees and

costs shall revert to the Settlement Fund.

       (c) The Parties understand that the Class Representative intends to apply to the Court

for approval of an incentive award in the amount of $7,500. Cavalry agrees not to oppose any

request up to and including $7,500.




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IV.  IDENTIFICATION OF SETTLEMENT CLASS MEMBERS AND AMOUNTS
OF PREPURCHASE INTERST.

       4.01.   Cavalry represents that to the best of its knowledge based on its thorough

review of its records of customer accounts, including electronic records, that the Settlement

Class contains approximately 10,000 persons; that the total amount of outstanding

Prepurchase Interest assessed against the Settlement Class exceeds $2 million, and that the

total amount of Prepurchase Interest Paid by Settlement Class Members totals approximately

$140,000.

       4.02.   No later than ten (10) calendar days after entry of the Preliminary Approval

Order, Cavalry will produce an electronic list (the “Class List”) for the Settlement

Administrator and Class Counsel containing:

       (a) the name, account number, and last known addresses in Cavalry’s system of each
       Settlement Class Member as of the date of the entry of the Preliminary Approval
       Order,

       (b) the amount of Prepurchase Interest Paid by each Settlement Class Member, if any,

       (c) the amount of Prepurchase Interest currently outstanding on the Account; and

       (d) for each Settlement Class Member, whether Cavalry sought to collect on the
       Account during the period March 13, 2013 to March 13, 2014.

The Settlement Administrator will update each Settlement Class Member’s last known

address through the United States Postal Service National Change of Address (NCOA)

database, and, if needed, by performing a search through Accurint or similar service. Such

information shall be provided solely to assist the Administrator in locating valid addresses

where necessary. Cavalry will thereafter respond to reasonable written inquiries, if any, by

Class Counsel concerning the procedures used in updating and maintaining the list of

Settlement Class Members.




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       4.03.   Affidavits Regarding Settlement Class Member Identification and Pre-

purchase Interest Payments.

       a.      Within 20 days of Preliminary Approval of the Settlement Agreement,

Cavalry will provide Class Counsel with an affidavit which provides: (i) a description of the

process used to identify Settlement Class Members; (ii) a description of the process used to

determine for each Settlement Class Member the amount of Prepurchase Interest Paid; (iii) a

description of the process used to determine as to each Settlement Class Member whether

Cavalry sought to collect on the Account on or after March 13, 2013; (iii) attestation that the

total amount of Prepurchase Interest forgiven exceeds $2 million.

       b.      Within 10 days of the entry of the Final Approval Order, Cavalry shall

provide an affidavit that the amounts of outstanding Prepurchase Interest on Settlement Class

Members Accounts have been forgiven, and that the Account balances have been adjusted

accordingly, from an individual with knowledge of the process.

V.     CLASS SETTLEMENT PROCEDURES.

       5.01.   Motion for Preliminary Approval. Within seven (7) days after the signing of

this Agreement, Class Counsel shall file a motion for preliminary approval of the proposed

settlement, which Cavalry agrees not to oppose, requesting the entry of an order in the form

annexed hereto as Exhibit B, providing, among other things:

       (a)     That the Settlement is preliminarily approved as being within the range
               of reasonableness such that notice thereof should be given to the
               Settlement Class;

       (b)     That for purposes of settlement only, the requirements for provisional
               certification of the Settlement Class have been satisfied, this action
               shall be maintained and proceed as a class action, pursuant to Fed. R.
               Civ. P. 23, on behalf of the Settlement Class, and Andréa Spence shall
               be appointed as Class Representative and her attorneys appointed as
               Class Counsel;



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(c)   That the notice of proposed class action settlement substantially in the
      form attached as Exhibit A, is approved by the Court; and that the
      mailing of the Notice in the manner and form set forth in the Order
      meets all the requirements of Fed. R. Civ. P. 23 and any other
      applicable law, constitutes the best notice practicable under the
      circumstances, and shall constitute valid, due and sufficient notice to
      all persons entitled thereto;

(d)   That deadlines shall be established consistent with this Settlement for
      mailing of the Notices, the filing of any objections, the filing of any
      requests to be excluded or to opt-out, the filing of any motions to
      intervene, and deadlines for the filing of any papers in connection with
      the Final Approval Hearing and the consideration of the approval or
      disapproval of the Settlement;

(e)   That any objections by the Settlement Class to: (i) the certification of
      the Settlement Class and the proposed settlement contained in the
      Settlement Agreement and described in the Notice, and/or (ii) the entry
      of the Final Approval Order, shall be heard and any papers submitted
      in support of such objections shall be considered by the Court at the
      Final Approval Hearing only if, on or before a date (or dates) to be
      specified in the Notice and Preliminary Approval Order, such objector
      timely files a written objection to the Settlement, states the basis for
      such objection, and serves copies of the foregoing and all other papers
      in support of such objections upon counsel for the Parties identified in
      the Notice so that such papers are actually received by such counsel by
      the date set by the Court. Any objections must be filed with the Court
      on or before the date specified in the Notice, which shall be no later
      than 45 days after the mailing of the Notices;

(f)   That any person who wishes to opt out of the Settlement shall mail a
      notice of intention to opt-out to the Settlement Administrator on or
      before a date specified in the Notice and Preliminary Approval Order.
      The notice of intention to opt out shall: (i) set forth the Settlement
      Class Member’s full name, current address and telephone number; and
      state the intent of each obligor not to participate in the Settlement. The
      notice of intention to opt out shall be postmarked on or before the date
      specified in the Notice, which shall be no later than 45 days after the
      mailing of the Notices;

(g)   That Class Counsel’s application for an award of fees and expenses,
      with supporting affidavits and exhibits, shall be submitted at least 10
      days prior to the Final Approval Hearing;




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       (h)     That the Preliminary Approval Order substantially in the form of
               Exhibit B to the Settlement Agreement is preliminarily approved;

       (i)     That a hearing or hearings shall be held before the Court, at the
               respective time and date to be set by the Court, to consider and
               determine whether the requirements for final certification of the
               Settlement Class have been met and whether the proposed Settlement
               of the Litigation on the terms and conditions set forth in the Settlement
               Agreement, including as part of the Settlement, the payment of Class
               Counsel’s attorneys’ fees and reimbursement of expenses, is fair,
               reasonable and adequate and should be approved by the Court, and
               whether the judgment approving the Settlement and dismissing the
               Litigation on the merits and with prejudice against the Class
               Representative and the Settlement Class Members should be entered,
               and to consider such other matters as may properly come before the
               Court in connection with the Final Approval Hearing;

       (j)     That the Final Approval Hearing may, from time to time and without
               further individual notice to the Settlement Class (except those who
               filed timely and valid objections), be continued or adjourned by order
               of the Court;

       (k)     That all Settlement Class Members will be bound by the Preliminary
               Approval Order;

       (l)     That the Parties shall file and serve all papers in support of the motion
               for entry of the Final Approval Order, which shall be substantially in
               the form of Exhibit C to this Settlement Agreement, for attorneys’ fees
               and expenses, and/or in response to any valid and timely objections
               received by the designated counsel for the Parties identified in the
               Notice on or before ten (10) days prior to the Final Approval Hearing
               or on a date (or dates) set by the Court.

       5.02.   Class Notice. Within 25 days after entry of the Order of Preliminary

Approval, the Settlement Administrator will send to each Settlement Class Member a Notice

in the form of Exhibit A by first class mail, postage pre-paid, addressed to the address

contained in the Class List, as updated in accordance with Paragraph 4.02. The envelopes

shall be marked “address correction requested.” If any notices are returned with a new

address, the Settlement Administrator shall remail the notice to the new address. If any

notices are returned without a forwarding address, the Settlement Administrator shall



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perform a search for a current address through Accurint or similar service. All costs of

Settlement administration, including but not limited to the costs of printing and mailing the

Notices and checks to Class Members, and managing the Settlement Fund, shall be paid by

Cavalry.

       5.03    CAFA Notice. Cavalry shall send the notice required by Section 1715 of the

Class Action Fairness Act (28 U.S.C. § 1715) to the respective Attorneys General within 10

days of filing this Agreement.

       5.04.   The Notice described in paragraph 5.02 above shall permit any Settlement

Class Member to elect not to be part of the Settlement Class and not to be bound by this

Agreement, if, within such time as is ordered by the Court and contained in the Notice, the

affected person mails an appropriate opt-out notice to the Settlement Administrator, at the

address contained in the notice. The notice of intention to opt out shall: (i) set forth the

Settlement Class Member’s full name, current address and telephone number; (ii) contain the

signatures of each Settlement Class Member obligated on the Account; and (iii) state an

intent of all signatories not to participate in the Settlement. The notice of intention to opt out

must be postmarked on or before the date specified in the Notice, which shall be no later than

45 days after the initial mailing of the Notices. No Settlement Class Member, or any person

acting on behalf of or in concert or participation with that Settlement Class Member, may

exclude any other Settlement Class Member. At least ten days prior to the Final Approval

Hearing, the Settlement Administrator shall prepare a list of the persons who have complied

with the requirements for exclusion from the Settlement Class and shall serve such list upon

Class Counsel and Cavalry’s Counsel, and Class Counsel shall file such document with the

Court at least five days prior to the Final Approval Hearing and serve it upon Cavalry’s




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Counsel at the same time. Upon the entry of the Final Approval Order, the persons who

timely and properly requested exclusion from the Settlement Class will not be considered

Settlement Class Members for purposes of this Agreement.

       5.05.   Order and Final Judgment. At or before the Final Approval Hearing the

Parties shall request that the Court grant Final Approval of the Settlement and enter Final

Judgment in accordance with this Agreement, substantially in the form of the Final Approval

Order attached as Exhibit C, and including any modifications by the Court, approving this

Agreement as final, fair, reasonable, adequate, and binding on all Settlement Class Members,

ordering that the cash payments be made to the Settlement Class Members, ordering any

award of attorneys’ fees, costs and expenses be paid to Class Counsel, and ordering that

following the making of all such payments, the Litigation shall be dismissed with prejudice

as to Settlement Class Members.

VI.    ADMINISTRATION OF THE SETTLEMENT.

       6.01.   Treatment of Payments to Settlement Class Members Who Have Died. If the

Settlement Administrator receives notice that a Settlement Class Member is deceased, the

Settlement Administrator will, upon receipt of proper notification and documentation, make

any payment due to the Settlement Class Member’s estate, or in the case of a Settlement

Class Member receiving only $20, payment may be made to an appropriate family member.

“Proper notification and documentation” means, at minimum, a copy of the court filings

appointing an executor, administrator or other personal representative of the estate and

sufficient information as to the identity and address of the executor, administrator or personal

representative to enable mailing of a check.




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          6.02.   Uncashed/Unclaimed Checks. Those Settlement Class Members whose checks

are not cashed within ninety (90) days after the Distribution Date, shall be ineligible to share

in the Settlement Fund. The funds from any checks that remain uncashed after the ninety (90)

day period provided herein shall be distributed to the cy pres beneficiary selected by the

parties and approved by the Court, as set forth in paragraph 6.05.

          6.03.   Notification to Class Counsel. One hundred (100) days after the Distribution

Date, the Settlement Administrator shall notify Class Counsel and Cavalry’s Counsel in

writing of the number of Settlement Class Members, the number of Settlement Class

Members sent checks, the number of Settlement Class Members who did not cash the checks,

the total dollar amount of the checks distributed, and the total dollar amount of uncashed

checks.

          6.05.   Cy Pres. Thirty days after the date the checks become void, the residue of the

principal, if any, of any uncashed checks distributed pursuant to the terms of this Agreement

shall be donated to the following charitable organization: Action for Boston Community

Development (ABCD). The Settlement Administrator shall deliver the check made payable

to the organization copying Cavalry’s counsel and Class Counsel.

          6.06.   Certification of Distribution. Within twenty (20) days after the final

distribution of all portions of the Settlement, the Settlement Administrator shall file a

declaration certifying to the Court that the distributions provided for by this Agreement have

all been timely made and shall serve a copy thereof on Class Counsel and Cavalry.

          6.07. Dismissal of Claims. All claims raised in the Amended Complaint shall be

dismissed with prejudice as to the Plaintiff and Settlement Class Members upon entry of the

Final Approval Order, as set forth in the Final Approval Order. The Settlement Agreement




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does not affect any claim Cavalry may have as to Ms. Spence’s Account, except as to the

amount of any Prepurchase Interest, nor does it affect Ms. Spence’s defenses to any such

claim.

VII.     RELEASES

         7.01.   Upon the Effective Date, the Class Representative on her own behalf and each

Settlement Class Member, by operation of this Release and the Final Approval Order, hereby

does and shall be deemed to have fully, finally and forever released, settled, compromised,

relinquished, and discharged any and all of the Released Persons (as defined in paragraph

1.15 above) of and from any and all of the Released Claims (as defined in paragraph 1.14

above) and, without further action by any person, shall be deemed to have consented to the

dismissal with prejudice of such claims as to all Settlement Class Members.

         7.02.   Upon the Effective Date, Cavalry hereby releases, settles, compromises,

relinquishes and discharges the Settlement Class Members, including the Class

Representative, from any liability for any Prepurchase Interest (as defined in paragraph 1.12

above) remaining on their Account.

VIII. MISCELLANEOUS PROVISIONS.

         8.01.   Parties to Use Best Efforts to Effectuate Settlement. The Parties’ Counsel

shall use their best efforts to cause the Court to give Preliminary Approval to this Agreement

as promptly as practicable, to take all steps contemplated by this Agreement to effectuate the

settlement on the stated terms and conditions and to obtain Final Approval of this

Agreement.

         8.02.   Governing Law. This Agreement is intended to and shall be governed by the

laws of the Commonwealth of Massachusetts, without regard to conflict of laws rules. This




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Agreement shall be enforced in the United States District Court in the District of

Massachusetts. Cavalry and Settlement Class Members waive any objection that any such

party may have or hereafter may have to the venue of such suit, action, or proceeding.

       8.03.   Entire Agreement. The terms and conditions set forth in this Agreement and

the exhibits thereto constitute the complete and exclusive statement of the Class Action

Settlement Agreement between the Parties relating to the Class Claims asserted in the Second

Amended Complaint, superseding all previous negotiations and understandings, and may not

be contradicted by evidence of any prior or contemporaneous agreement.

       8.04.   Modification Only in Writing. This Agreement may be altered, amended,

modified or waived, in whole or in part, only in a writing signed by the Class Representative,

Class Counsel and Cavalry. This Agreement may not be amended, altered, modified or

waived, in whole or in part, orally.

       8.05.   No Ambiguity To Be Construed In Favor of Either Party. The determination

of the terms of, and the drafting of, this Agreement has been by mutual agreement after

negotiation, with consideration by and participation of all Parties hereto. Accordingly, this

Agreement shall be considered neutral and no ambiguity shall be construed in favor or

against the Parties.

       8.06.   Successors. This Agreement shall be binding upon, and inure to the benefit of,

the respective heirs, successors and assigns of the Parties hereto.

       8.07.   Waivers. The waiver by one party of any provisions or breach of this

Agreement shall not be deemed a waiver of any other provision or breach of this Agreement.

       8.08.   Counterparts. This Agreement shall become effective upon its execution by all

of the undersigned. The Parties may execute this Agreement in counterparts, and execution




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of Counterparts shall have the same force and effect as if all Parties had signed the same

instrument.

       8.09.   Retention of Jurisdiction. The Court shall retain jurisdiction over the

interpretation, effectuation and implementation of this Agreement, and all orders entered in

connection therewith and the Parties and their attorneys submit to the jurisdiction of the

Court. In any action or proceeding to enforce the terms of this Agreement or the Final

Approval Order and Final Judgment, the prevailing party shall be entitled to any award of

reasonable attorneys’ fees, costs and expenses.

       8.10    Taxes. The Parties and their Counsel have provided no tax advice with respect

to the terms of the Settlement. In all events Cavalry shall have no liability or responsibility

for any taxes. It is understood and agreed that Class Members and Class Counsel shall be

responsible for paying any taxes due on any payments made to them pursuant to the

Agreement. The delivery of the Settlement Fund to the Settlement Administrator for deposit

into an escrow account, in accordance with paragraph 3.02 above, shall constitute full and

complete discharge of the entire obligation of Cavalry under this Agreement. Cavalry shall

not have any further obligation to Plaintiff (individually or as representative of the Class) or

to other Settlement Class Members under this Agreement except as otherwise specifically

provided in this Agreement.

       8.11. No Opt Out Solicitation or Inducement. Plaintiff and Class Counsel agree that

they shall take no action which would or might have the effect of inducing or encouraging

any person included in the Settlement Class to seek exclusion from the Class, provided that

this provision shall not restrict Class Counsel from providing appropriate legal advice in

response to inquiries from the Settlement Class.




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        8.12.   Conditional Nature of Settlement Agreement. This Class Action Settlement

Agreement, including all associated exhibits and attachments, is made for the sole purpose of

attempting to consummate a settlement of this action on a class-wide basis. The Agreement is

made in compromise of disputed claims. The Agreement is intended by the Parties to fully,

finally and forever resolve, discharge and settle the Released Claims upon and subject to the

terms and conditions set forth in this Agreement. Because this action was pled as a class

action, this settlement must receive approval by the Court. Accordingly, the Parties enter into

this Agreement and associated settlement (the “Settlement”) on a conditional basis that is

subject to the final approval of the Court.

        8.13.   Effect of Disapproval. In the event that the Court does not execute and file the

Final Approval Order, substantially in the form of Exhibit C to this Agreement, or in the

event that the associated Final Judgment does not become final for any reason, then this

Agreement shall be deemed null and void ab initio; it shall be of no force or effect

whatsoever; it shall not be referred to, utilized or admissible for any purpose whatsoever; and

any negotiations concerning the terms of the Agreement including, without limitation,

Cavalry’s provision of class-related data and the affidavit referred to in paragraph 4.06, shall

remain confidential and shall not be admissible in any proceeding for any purpose, and shall

be destroyed.

        8.14.   Denial of Liability; No Admissions. Cavalry denies all of the claims as to

liability, damages, fees, restitution and all other forms of relief as well as the class action

allegations asserted in the Litigation. Neither this Agreement, nor any of its terms and

provisions, nor any of the negotiations connected with it, shall be construed as an admission

or concession by Cavalry of any legal violations, any legal requirement or any failure to




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comply with any applicable law. Except as necessary in a proceeding to enforce the terms of

this Agreement, this Agreement and its terms and provisions shall not be offered or received

as evidence in any action or proceeding to establish any liability or admission on the part of

Cavalry or any Released Persons or to establish any condition constituting a violation of or

non-compliance with federal, state, local or other applicable law, or the propriety of class

certification in any proceeding or action. The Parties expressly agree and represent that, in

the event that the Court does not approve this Agreement, or any appellate court disapproves

of this Agreement in any way that prevents the Settlement from becoming final and effective,

no Party will use or attempt to use any conduct or statement of any other Party in connection

with this Agreement or any effort to seek approval of the Settlement to affect or prejudice

any other Party’s rights in any ensuing litigation. Cavalry has agreed to resolve this

Litigation through this Agreement, but to the extent this Agreement is deemed void or the

Effective Date does not occur, the Parties do not waive, but rather expressly reserve, all

rights to challenge all such claims and allegations in the Litigation upon all procedural and

factual grounds, including without limitation the ability to challenge class action treatment on

any grounds or assert any and all defenses or privileges. The Parties expressly reserve all

rights and defenses as to any claims and do not waive any such rights or defenses in the event

that this Agreement is not approved for any reason. The Class Representative and Class

Counsel agree that Cavalry and the Released Persons retain and reserve these rights and

agree not to take a position to the contrary.

       IN WITNESS WHEREOF, the undersigned, being duly authorized, have caused this

Agreement to be executed on the dates shown below.




                                                20
               United States District Court For The District of Massachusetts
     If Cavalry Portfolio Services attempted to collect a Bank of
America credit card account from you, your account balance may
be reduced and you may get a payment from a class action.
         A Federal Court Ordered This Notice – It is Not A Solicitation From A Lawyer.
      Cavalry Portfolio Services, LLC’s records identify you as a Class Member in a class
       action lawsuit that was filed by Andréa Spence (the “Plaintiff”) against Cavalry Portfolio
       Services, LLC (CPS) and Cavalry SPV I, LLC (SPV) (collectively “Cavalry”).
      The proposed settlement requires Cavalry to provide Class Members with a check in an
       amount to be determined, and also to reduce the balance owed to Cavalry by many Class
       Members. Details are below.
        YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

DO NOTHING           If you do nothing you will remain eligible to participate
                     in the settlement, and obtain benefits. You will be
                     bound by the Court’s final Judgment and the release of
                     claims explained in the Settlement Agreement.
                     If you exclude yourself from the Settlement, you will     Deadline:
EXCLUDE              not receive any benefits from the Settlement. Excluding [Month Day,
YOURSELF             yourself is the only option that allows you to ever bring Year]
                     or maintain your own lawsuit against the Defendants
                     regarding the allegations in the Action.
                     You may write to the Court about why you object to          Deadline:
OBJECT               the Settlement and think it shouldn’t be approved.          [Month Day,
                     Filing an objection does not exclude you from the           Year]
                     Settlement.

      These rights and options – and the deadlines to exercise them – are explained in more
       detail below.
        The Court in charge of this Action has preliminarily approved the Settlement and must
decide whether to give final approval to the Settlement. The relief provided to Class Members
will be provided only if the Court gives final approval to the Settlement and, if there are any
appeals, after the appeals are resolved in favor of the Settlement. Please be patient.




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                                            WHAT THIS NOTICE CONTAINS
  BASIC INFORMATION-THIS CASE ...................................................................................... PAGE 2
  HOW DO I KNOW IF I AM PART OF THE SETTLEMENT.................................................. PAGE 2
  THE SETTLEMENT BENEFITS – WHAT YOU GET……..……..……… ........................... PAGE 3
  THE SETTLEMENT RELEASE – WHAT YOU WILL GIVE UP……….. ........................... PAGE 4
  YOUR RIGHTS – EXCLUDE YOURSELF…………………………………… .................. PAGE 4
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  IMPORTANT ADDRESSES ................................................................................................... PAGE 6
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                                               BASIC INFORMATION- THIS CASE
        A class action lawsuit entitled Spence v Cavalry Portfolio Services LLC, Case No. 1:14-
cv-12655-PBS, is pending in the U.S. District Court for the District of Massachusetts. The
lawsuit claims that Cavalry violated the Fair Debt Collection Practices Act, 15 U.S.C. §1692 and
M.G.L. c. 93 §§ 49 and 54 by charging interest that Plaintiff contends is not owed. Cavalry
denies the claims, contends that it has numerous defenses to the action, and denies that class
certification is required or appropriate.
        The Court has not decided who is right or wrong in this lawsuit. Although no decision
has been made about who is right and who is wrong, both sides have agreed to a proposed
Settlement. A Settlement avoids the expense, delay and uncertainty of a trial and gets relief to
Class Members more quickly. The Plaintiff and the attorneys for the Class think the Settlement is
best for all Class Members.
        The Action is called a “Class Action” because the Class Representative is suing on behalf
of other people with similar claims, called “Class Members.” The parties have agreed to treat the
Action as a Class Action for settlement purposes only.
                                HOW DO I KNOW IF I AM PART OF THE SETTLEMENT?
         You are a Settlement Class Member if:
         (1) Cavalry SPV purchased your credit card debt from FIA Card Services, Inc. (Bank of
         America);
         (2) FIA Card Services had ceased charging interest to your account debt prior to selling it


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       to SPV;
       (3) Cavalry Portfolio Services then added interest for a period of time prior to the date
       Cavalry SPV purchased the debt;
       (4) CPS attempted to collect that prepurchase interest from you, or reported a balance that
       included such interest to a credit reporting agency;
       (5) a judgment on the debt hasn’t been entered against you as of the date of the
       Settlement Agreement;
       (6) you have not previously released your claim against Cavalry; and
       (7) you have not filed bankruptcy.
       The class period is March 14, 2010 through the present.
        Cavalry reviewed its records and identified approximately 10,000 Class Members.
Cavalry’s records indicate that you are Class Member. If you were a co-borrower or co-obligor
on an FIA account that was purchased by Cavalry, then you and each co-borrower or co-obligor
as to that loan will be treated as a single Member of the Class for purposes of the proposed
Settlement.
                        THE SETTLEMENT BENEFITS – WHAT YOU GET
        If the Settlement is approved by the Court, all Settlement Class Members will receive
certain monetary benefits. If the Settlement is not approved by the Court, Settlement Class
Members will not get any benefits of the Settlement and the parties will go back to Court for
further proceedings, including possibly a trial. The parties have made their best efforts to
negotiate a settlement that is fair and reasonable under the circumstances.
        Cash Payments. Cavalry will pay $550,333 into a Settlement Fund which will be used to
make cash payments to Settlement Class Members, as follows: (1) Settlement Class Members
who paid any Prepurchase Interest, as defined in the Settlement Agreement (i.e. the interest
charged by Cavalry for the time period after the account was charged off and before Cavalry
purchased it), will be entitled to a full refund of those payments; (2) Settlement Class Members
from whom Cavalry sought to collect Prepurchase Interest but who did not pay any such interest
will be entitled to a payment of $20; and (3) Settlement Class Members from whom Cavalry
sought to collect Prepurchase Interest on or after March 13, 2013 will be entitled to an additional,
equal share of the Settlement Fund remaining after deduction for refunds, the $20 payments
mentioned in Subsections (1) and (2) of this Section and a service award to the Class
Representative if approved by the Court.
        Interest Forgiveness. In addition, for all Settlement Class Members, Cavalry will forgive
all Prepurchase Interest remaining on their Accounts, an amount that exceeds $2 million in total.
                  You do NOT need to do anything to receive these benefits.
        Attorneys’ Fees. Counsel for the Settlement Class will seek attorneys’ fees from the
Settlement Fund of up to $275,167 and costs of $9,000, subject to approval by the Court at the
final approval hearing referred to below. If the Court approves the request, the fees and costs will
be paid by Cavalry.




                                                 3
        Representative Plaintiff Service Award. The Representative Plaintiff will request a
service award of up to $7,500 for her services as a class representative and her efforts in bringing
the Action.
                   THE SETTLEMENT RELEASE—WHAT YOU WILL GIVE UP
       If the Court approves the proposed Settlement, unless you exclude yourself from the
Settlement, you will be releasing your claims against Defendants. A RELEASE MEANS
THAT YOU WILL NOT BE ABLE TO FILE A LAWSUIT, CONTINUE PROSECUTING
A LAWSUIT, OR BE PART OF ANY OTHER LAWSUIT AGAINST DEFENDANTS
REGARDING CLAIMS RELATED TO THE ASSESSMENT OF PREPURCHASE
INTEREST
                              YOUR RIGHTS - EXCLUDE YOURSELF
       If you are a Settlement Class Member, you are included in the Settlement unless you
request to be excluded. If you remain in the Settlement Class and this Settlement is approved by
the Court, you will receive the benefits described above. If you do not want to participate in the
Settlement, you can exclude yourself or “opt out.” If you exclude yourself, you will not receive
any benefits from the Settlement, but you will not be bound by any judgment or release in this
Action and will keep your right to sue Cavalry on your own if you want. If you exclude yourself,
you may not object to the Settlement.
        To exclude yourself, you must send a letter or postcard with your original signature
stating: (a) the name and case number of the Action, “Spence v Cavalry, Case No. 1:14-cv-
12655-PBS”; (b) your full name, address, email address, and telephone number; and (c) a
statement that you do not wish to participate in the Settlement, postmarked no later than [Month
Day, Year] to the Claims Administrator at:
                           Spence.v. Cavalry, c/o Class Administrator
                                           [Address]
                                       [City, State ZIP]
IF YOU DO NOT MAKE A TIMELY AND VALID REQUEST FOR EXCLUSION, YOU
WILL REMAIN A CLASS MEMBER AND BE BOUND BY THE SETTLEMENT.
                         YOUR RIGHTS - OBJECT TO THE SETTLEMENT
        If you do not request to be excluded, you may object to the Settlement. You may not do
both. To object, you must send a letter saying that you object to “Spence v Cavalry Portfolio
Services LLC, Case No. 1:14-cv-12655-PBS” to Settlement Class Counsel, Cavalry’s Counsel,
and the Court at the addresses provided below. Be sure to include your name, address, telephone
number, your signature, and the reasons you object to the settlement. Mail the objection to these
three different places, postmarked no later than [Month] [Day], 2015.
   CLASS COUNSEL                   CAVALRY’S COUNSEL                          COURT
      Elizabeth Ryan                   Katrina Christakis            United States District Court
   Bailey & Glasser LLP             Pilgrim Christakis LLP            John Joseph Moakley U.S.
       99 High Street                    321 N. Clark                        Courthouse,
         Suite 304                         26th Floor               1 Courthouse Way, Suite 2300
    Boston, MA 02110                  Chicago, IL 60654                  Boston, MA 02210



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You may, but need not, file and serve your objection through counsel of your choice. If you do
make your objection through an attorney, you will be responsible for your personal attorneys’
fees and costs.
IF YOU DO NOT TIMELY MAKE YOUR OBJECTION, YOU WILL BE DEEMED TO
HAVE WAIVED ALL OBJECTIONS AND WILL NOT BE ENTITLED TO SPEAK AT
THE FINAL APPROVAL HEARING.
       If you properly file and serve a written objection, you may appear at the Final Approval
Hearing, either in person or through personal counsel hired at your expense, to object to the
Settlement Agreement. You are not required, however, to appear. If you, or your attorney, intend
to make an appearance at the Final Approval Hearing, you must also deliver to Class Counsel
and Defendants’ Counsel, and file with the Court, no later than (i.e., postmarked by) [Month
Day, Year], a “Notice of Intention to Appear”.
        If you intend to appear at the Final Approval Hearing through counsel, you must also
identify the attorney(s) representing you who will appear at the Final Approval Hearing. Also, if
you intend to request the Court to allow you to call witnesses at the Final Approval Hearing,
such request must be made in your written brief, which must also contain a list of any such
witnesses and a summary of each witness’s expected testimony.
                                  FINAL APPROVAL HEARING
          The Court will hold a hearing on __________ in Courtroom ___ at the U.S. District
Court for the District of Massachusetts, John Joseph Moakley U.S. Courthouse, 1 Courthouse
Way, Boston, MA 02210, to decide whether to give final approval to the Settlement. The
purpose of the Final Approval Hearing will be for the Court to determine whether the Settlement
is fair, reasonable, adequate, and in the best interests of the Class; to consider the award of
attorneys’ fees and costs to Class Counsel; to consider the request for a service award to the
Representative Plaintiff; and to consider whether the Settlement Class Members should be bound
by the Release and be prohibited from suing over Released Claims.
       The hearing may be postponed to a different date or time or location without notice.
Please contact the Settlement Administrator or class counsel for any updates about the
Settlement generally or the Final Approval Hearing specifically. At that hearing, the Court will
hear any Objections and arguments concerning the fairness of the Settlement. You may attend,
but you do not have to. You may speak at the Final Approval Hearing only if (a) you have timely
served and filed a proper Objection, and (b) you have timely served and filed a Notice of Intent
to Appear.
       If you have requested exclusion from the Settlement, however, you may not speak at the
Final Approval Hearing.
                                GETTING MORE INFORMATION
        This Notice, which has been approved by the Court, is only a summary. You may contact
the Settlement Administrator at the postal mailing address: [Address; City; State; ZIP].
        If you have additional questions you may contact Class Counsel at the address below. All
of the records and other papers filed in the Action, including the Settlement Agreement, are on
file with the Court and can be inspected during regular business hours at the Clerk’s Office. The



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Clerk of the Court is located at the John Joseph Moakley U.S. Courthouse, 1 Courthouse Way,
Suite 2300, Boston, MA 02210. Please do not contact the Judge concerning this case.
   WHAT IF MY ADDRESS OR OTHER INFORMATION HAS CHANGED OR CHANGES AFTER I
                            RECEIVE MY NOTICE?

       It is your responsibility to inform the Settlement Administrator of your updated
information so that a check may be sent to you if the settlement is approved. You may do so at
the address below:

         Spence v Cavalry, Case No. 1:14-cv-12655-PBS, c/o Settlement Administrator
                                          [Address]
                                       [City, State ZIP]

                                    IMPORTANT ADDRESSES

                                        Class Counsel:

Elizabeth A. Ryan                                  Charles M. Delbaum
Bailey & Glasser LLP                               Stuart T. Rossman
99 High Street, Suite 304                          National Consumer Law Center
Boston, MA 02110                                   7 Winthrop Square, 4th Floor
Tel: 617.439.6730                                  Boston, MA 02110
Fax: 617.951.3954                                  Tel: 617.542.8010
eryan@baileyglasser.com                            cdelbaum@nclc.org

                                     Defendants’ Counsel:

Katrina Christakis
Pilgrim Christakis LLP
321 N. Clark, 26th Floor
Chicago, IL 60654
Tel: 312.939.0920
Fax: 312.939.0983
kchristakis@pilgrimchristakis.com

                                     Class Administrator:

_________ Settlement Administration
[Insert Settlement Administrator Address]




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                                      IMPORTANT DATES

XXXXXXXX                     All NOTICES OF APPEARANCES, MOTIONS, OR OTHER
                             SUBMISSIONS must be postmarked and mailed or hand-delivered
                             to the Court and postmarked and mailed or hand-delivered to Class
                             Counsel and Defendants’ Counsel.
XXXXXXXX                     All OPT OUTS/REQUESTS FOR EXCLUSION must be
                             postmarked and mailed to the Settlement Administrator.

XXXXXXXX                     All OBJECTIONS must be postmarked and mailed or hand-
                             delivered to the Court and postmarked and mailed or hand-
                             delivered to Class Counsel and Defendants’ Counsel.

XXXXXXX, at __:__            FINAL APPROVAL HEARING.

Dated: XXX XX, 2015                         By: Order of the District of Massachusetts
                                            HONORABLE PATTI B. SARIS
                                            UNITED STATES DISTRICT COURT JUDGE




                                          Addendum

       As provided for in Section 10 of the Notice, the terms of the Release, as embodied in the
Settlement Agreement, are reproduced below:

       RELEASE

         1.11. “Released Claims” means and includes any and all claims, demands, actions,
causes of action, rights, offsets, suits, damages, lawsuits, liens, costs, losses, expenses or
liabilities of any kind whatsoever, for any relief whatsoever, whether known or unknown, arising
since March 14, 2010 from the facts alleged in the Amended Complaint, including Cavalry’s
assessment of and attempt to collect “Prepurchase Interest.” “Prepurchase Interest” means
interest CPS assessed on a Settlement Class Member’s Account for a time period after the
Account was charged off by FIA and prior to the date SPV purchased the Account.




                                               7
                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS



ANDRÉA SPENCE, on behalf of herself and
others similarly situated,

               Plaintiff,
                                                         Civil Action No. 1:14-cv-12655-PBS
       v.

CAVALRY PORTFOLIO SERVICES, LLC
and CAVALRY SPV I, LLC,


               Defendants.



                    ORDER PRELIMINARY APPROVING SETTLEMENT

       Upon consideration of the Parties’ Settlement Agreement dated December 8, 2015, (the

“Settlement Agreement”), IT IS HEREBY ORDERED AS FOLLOWS:

       1.      The Settlement Agreement and the exhibits thereto are hereby incorporated by

reference in this Order as if fully set forth herein. Capitalized terms in this Order shall, unless

otherwise defined herein, have the same meaning as in the Settlement Agreement.

       2.      For purposes of the Settlement, this Court hereby provisionally approves the

following settlement class (“Settlement Class”):

   (a) all individuals who at any time during the Class Period maintained an address in
   Massachusetts (b) whose credit card debt Cavalry SPV I purchased from FIA Card
   Services, Inc.; (c) where FIA Card Services, Inc. had ceased charging interest to the
   debt prior to SPV’s purchase; (d) CPS added interest for a period prior to the date
   SPV purchased the debt; and (e) during the Class Period CPS sought to collect such
   prepurchase interest, and/or reported a balance including such interest to a credit
   reporting agency; (e) against whom Cavalry has not obtained a judgment or a release
   as of the date of this Agreement; and/or (f) who have not filed for or obtained a
   discharge in bankruptcy applicable to the Account. The Class Period is March 14,
   2010 through the present.
If, for any reason, the Settlement is not approved or does not become effective, this provisional

approval shall be null and void, and shall not be used or referred to for any purpose in this Action

or any other action or proceeding.

       3.      For settlement purposes only, and subject to further consideration at the Final

Approval Hearing described in Paragraph 13 below, this Settlement Class meets the relevant

requirements of Fed. R. Civ. P. 23(a) and (b)(3).

       4.      For settlement purposes only, and after considering the relevant factors in Fed. R.

Civ. P. 23 and subject to further consideration at the Final Approval Hearing, Representative

Plaintiffs are conditionally designated as representatives of the Settlement Class and Class

Counsel is conditionally appointed as counsel for the Settlement Class. The law firms and

attorneys conditionally representing the Settlement Class are:

               Elizabeth A. Ryan
               John Roddy
               Bailey & Glasser LLP
               99 High Street, Suite 304
               Boston, MA 02110

               Charles M. Delbaum
               Stuart T. Rossman
               National Consumer Law Center
               7 Winthrop Square, 4th Floor
               Boston, MA 02110

       5.      Pursuant to Fed. R. Civ. P. 23, the terms of the Settlement Agreement, and the

Settlement provided for therein, are preliminarily approved as (a) fair, reasonable, and adequate

in light of the relevant factual, legal, practical and procedural considerations of the Action, (b)

free of collusion to the detriment of Class Members, and (c) within the range of possible final

judicial approval, subject to further consideration thereof at the Final Approval Hearing

described at paragraph 13 of this Order. Accordingly, the Settlement Agreement and the




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Settlement are sufficient to warrant notice thereof, as set forth below, and a full hearing on the

Settlement.

       6.      To administer the Settlement, Kurtzman Carson Consultants, LLC is hereby

appointed as Settlement Administrator and hereby directed to follow the terms of the Settlement

Agreement and this Order. If not inconsistent with the Settlement Agreement and Order, the

Settlement Administrator shall follow the direction of the parties in administering the Settlement.

       7.      Pursuant to the terms of the Settlement Agreement, Defendants and the Settlement

Administrator are hereby directed to prepare the Class Member List. Within 25 days of the date

of this Order, and pursuant to the procedures detailed in the Settlement Agreement, the

Settlement Administrator shall provide notice of the Settlement and of the Final Approval

Hearing to each Class Member by mailing to the address for the Class Member a copy of the

Class Notice, substantially in the form attached to the Settlement Agreement as Exhibit B.

Before mailing, the Settlement Administrator shall fill-in all applicable dates and deadlines in the

Class Notice to conform with the dates and deadlines specified for such events in this Order. The

Settlement Administrator shall also have discretion to format the Class Notice in a reasonable

manner before mailing to minimize mailing or administration costs.

       8.      If any Class Notice mailed pursuant to the Settlement Agreement and paragraph 7

above is returned by the United States Postal Service as undeliverable, then the Settlement

Administrator shall re-mail the Class Notice to the forwarding address, if any, provided on the

face of the returned mail, and if no address is so provided, shall perform a standard skip trace.

       9.      The Court finds that the Settlement Agreement’s plan for class notice is the best

notice practicable under the circumstances and satisfies the requirements of due process and Fed.

R. Civ. P. 23. That plan is approved and accepted. This Court further finds that the Class Notice




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complies with Fed. R. Civ. P. 23 and is appropriate as part of the notice plan and the Settlement,

and thus it is hereby approved and adopted. This Court further finds that no other notice other

than that identified in the Settlement Agreement is reasonably necessary in the Action.

       10.     Any Class Member who wishes to be excluded from the Settlement Class and not

be bound by the Settlement Agreement must complete and mail a request for exclusion (“Opt-

Out”) to the Settlement Administrator at the address set forth in the Class Notice, postmarked no

later than thirty (30) days from the last projected date for the initial mailing of Class Notice

under paragraph 7 above. For a Class Member’s Opt-Out to be valid and treated as a Successful

Opt-Out, it must (a) state the name and number of the Action; (b) identify the Class Member; (c)

contain the Class Member’s personal and original signature or the original signature of a person

previously authorized by law to act on behalf of the Class Member; and (d) unequivocally state

the Class Member’s intent to be excluded from the Settlement. No person shall purport to

exercise any exclusion rights of any other person, or purport to Opt-Out Class Members as a

group, aggregate, or class involving more than one Class Member or Opt-Out more than one

Class Member on a single paper, or as an agent or representative; any such purported Opt-Outs

shall be void, and the Class Member(s) that is or are the subject of such purported Opt-Out shall

be treated as a Class Member. Further, any Class Member who is a Successful Opt-Out will be

deemed to have waived any rights or benefits under the Settlement, and will not have standing to

object to the Settlement.

       11.     On or before the date of the Final Approval Hearing, Class Counsel, Counsel for

the Defendants, and the Settlement Administrator shall create and file with the Court under seal a

comprehensive list which will include full names and addresses of Successful Opt-Outs. The list




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shall be maintained by this Court under seal in order to protect the privacy interests of those

persons identified thereon.

       12.     Any Class Member who is not a Successful Opt-Out and who wishes to object to

or comment on any aspect of the proposed Settlement, in whole or in part, must mail or hand-

deliver a written objection to the Settlement or Settlement Agreement (“Objection”) to the Court,

and contemporaneously mail it to Class Counsel and Counsel for the Defendants, so that it is on

file with the Court no later than thirty days (30) from the date that notice is mailed. To be

considered valid, each Objection must be timely (as judged by the filing deadline set forth above)

must state the name and number of the Action, identify the Class Member, and state all grounds

for any objection. Objections that are untimely and/or otherwise invalid may not be considered

by this Court unless the Court orders otherwise.

       13.     A hearing (the “Final Approval Hearing”) shall be held before the undersigned at

_________ a.m./p.m. on ________, 2016, in the United States District Court for the District of

Massachusetts, John Joseph Moakley U.S. Courthouse, 1 Courthouse Way, Suite 2300, Boston,

MA 02210, to determine, among other things, (a) whether the proposed Settlement should be

approved as fair, reasonable and adequate, (b) whether the Action should be dismissed with

prejudice pursuant to the terms of the Settlement Agreement, (c) whether Class Members should

be bound by the Release set forth in the Settlement Agreement, (d) whether Class Members

should be subject to a permanent injunction that, among other things, bars Class Members from

filing, commencing, prosecuting, intervening in, or participating in (as class members or

otherwise), any lawsuit, claim, demand or proceeding in any jurisdiction that is based on or

related to, directly or indirectly, matters within the scope of the Release, (e) whether the

Settlement Class should be finally certified, (f) the amount of attorneys’ fees and costs to be




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awarded to Class Counsel, if any, and (g) the amounts to be awarded to Representative Plaintiffs

for their service as class representatives, if any. This hearing may be postponed, adjourned, or

continued by order of the Court without further written notice to the Settlement Class.

         14.   Memoranda in support of the Settlement, application for attorneys’ fees and costs,

and applications for a Class Representative Award to Representative Plaintiffs shall be filed with

the Court no later than ten days before the Final Approval Hearing described in Paragraph 13

above.

         15.   Any Class Member who wishes to appear at the Final Approval Hearing, whether

pro se or through counsel, must file a notice of appearance in the Action, and contemporaneously

mail or hand-deliver the notice to Class Counsel and Counsel for the Defendants, no later than

thirty days before the final approval hearing described in Paragraph 13 above. No Class Member

shall be permitted to raise matters at the Final Approval Hearing that the Class Member could

have raised in an Objection, but failed to do so. Any Class Member who fails to comply with this

Agreement, or the Class Notice, or any other order by the Court shall be barred from appearing

at the Final Approval Hearing unless the Court otherwise orders.

         16.   Any Class Member who wishes to intervene in the Action or seek other relief

from the Court must file with the Court, and contemporaneously mail or hand-deliver to Class

Counsel and Counsel for the Defendants, an appropriate motion or application, together with all

supporting pleadings or documentation, no later than thirty days before the final approval hearing

described in Paragraph 13 above.

         17.   All other events contemplated by the Settlement Agreement to occur after this

Order and before the Final Approval Hearing, and all aspects of settlement administration during




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that time, and all matters related to Court consideration of the Settlement, shall be governed by

the Settlement Agreement, to the extent not inconsistent herewith.

           18.   The Parties are hereby authorized to retain the Settlement Administrator to assist

in effectuating the terms of, and administering, the Settlement. The Parties shall notify one

another and work together to resolve any matters involved in settlement administration that

materially concern or affect the Class.

           19.   All proceedings in the Action, other than such as may be necessary to carry out

the terms and conditions of the Settlement Agreement or the responsibilities related or incidental

thereto, are stayed and suspended until further order of this Court.

           20.   If Final Approval of the Settlement is not achieved, or if the Settlement is

terminated for any reason, the Settlement and all proceedings had in connection therewith shall

be without prejudice to the status quo ante rights of the parties to the Action, and all Orders

issued pursuant to the Settlement may be vacated upon a motion or stipulation from the Parties.

In such an event, the Settlement and all negotiations concerning it shall not be used or referred to

in this Action for any purpose whatsoever. This Order shall be of no force or effect if Final

Approval does not occur for any reason, and nothing in this Order shall be construed or used as

an admission, concession, or declaration by or against Defendants, of any fault, wrongdoing,

breach, or liability. Nor shall this Order be construed or used to show that certification of one or

more classes would or would not be appropriate if the Action were to be litigated rather than

settled.

           21.   Neither the Settlement nor the Settlement Agreement constitutes an admission,

concession, or indication by the Parties of the validity of any claims or defenses in the Action or




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of any wrongdoing, liability, or violation of law by Defendants, who vigorously deny all of the

claims and allegations raised in the Action.

       22.     At or after the Final Approval Hearing, the Court may approve the Settlement

with such modifications, if any, as may be agreed to by Class Counsel and Counsel for the

Defendants and without future notice to Class Members.




       SO ORDERED, on this, the ____ day of _________________, 2015.




                                               HONORABLE PATTI B. SARIS
                                               UNITED STATES DISTRICT JUDGE




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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


ANDRÉA SPENCE, on behalf
of herself and others similarly situated,
                                                      Civil Action No. 13-40042-TSH
               Plaintiff,
v.                                                    [PROPOSED] FINAL ORDER
                                                      APPROVING CLASS ACTION
CAVALRY PORTFOLIO SERVICES,                           SETTLEMENT, AND JUDGMENT OF
LLC and CAVALRY SPV I, LLC,                           DISMISSAL

               Defendants.



       Plaintiff Andréa Spence (“Plaintiff” or “Class Representative”), through her respective

counsel, has submitted to the Court an Unopposed Motion for Final Approval of Settlement

Agreement, And Application For Attorneys’ Fees And Costs, which seeks final approval of the

parties’ Settlement Agreement (the “Final Approval Motion”). Class Counsel has also submitted

to the Court their Unopposed Motion For An Order Awarding Attorneys’ Fees and Costs And

Expenses To Class Counsel.

       This Court preliminarily approved the Settlement Agreement by Preliminary Approval

Order dated ____________, 2015. Notice was given to all members of the Settlement Class

pursuant to the terms of the Preliminary Approval Order.

       This Court has reviewed the papers filed in support of the Final Approval Motion,

including the Settlement Agreement and the exhibits thereto, memoranda and arguments

submitted on behalf of the Settlement Class, and supporting affidavits. The Court held a hearing

on ____________, 2016, at which time the parties and all other interested persons were heard in

support of the proposed Settlement.

       Based on the papers filed with the Court and the presentations made to the Court by the
parties and by other interested persons at the hearing, it appears to the Court that the Settlement

Agreement is fair, adequate, and reasonable, and in the best interests of the Settlement Class.

Accordingly,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

       1.      This Final Order Approving Class Action Settlement and Judgment of Dismissal

(“Final Approval Order”) incorporates by reference all definitions contained in the Settlement

Agreement, and all terms used herein shall have the same meaning as set forth in the Settlement

Agreement. The Settlement Agreement shall be deemed incorporated herein.

       2.      The Court has jurisdiction over the subject matter of this Litigation and over all

parties to this action, including all Settlement Class Members for purposes of this Litigation.

       3.      Pursuant to Rule 23(b)(3) of the Federal Rules of Civil Procedure, the Court

certifies the following Settlement Class for purposes of settlement only:

               (a) all individuals who at any time during the Class Period
               maintained an address in Massachusetts;

               (b) whose credit card debt SPV purchased from FIA Card Services,
               Inc.;

               (c) where FIA Card Services, Inc. had ceased charging interest to
               the debt prior to SPV’s purchase;

               (d) CPS added interest for a period prior to the date SPV purchased
               the debt; and

               (e) during the Class Period CPS sought to collect such prepurchase
               interest, and/or reported a balance including such interest to a
               credit reporting agency;

               (f) against whom Cavalry has not obtained a judgment or release as
               of the date of this Agreement; and/or

               (g) who have not filed for or obtained a discharge in bankruptcy
               applicable to the Account.

       4.      For settlement purposes only, this Court finds that the Settlement Class satisfies



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the applicable prerequisites for class action treatment under Fed. R. Civ. P. 23, and more

specifically that: (a) the Settlement Class as defined above is so numerous that joinder of all

members is impracticable; (b) there are questions of law or fact common to the Settlement Class;

(c) the claims of the Class Representative are typical of the claims of the Settlement Class; (d)

the Class Representative will fairly and adequately protect the interests of the Settlement Class;

(e) the questions of law or fact common to the members of the Settlement Class predominate

over the questions affecting only individual members, and (f) certification of the Settlement

Class is superior to other available methods for the fair and efficient adjudication of the

controversy.

       5.      Pursuant to the Court’s Preliminary Approval Order, the approved Notices were

mailed to the Settlement Class. The Court has determined that the Notice given to members of

the Settlement Class fully and accurately informed members of the Settlement Class of all

material elements of the proposed Settlement; constituted valid, due, and sufficient notice to all

members of the Settlement Class; and fully complied with Rule 23(c)(2)(B) of the Federal Rules

of Civil Procedure.

       6.      The Court, having considered the relevant papers, including Plaintiff’s Final

Approval Motion, and any objections filed by members of the Settlement Class, finds that this

Settlement, on the terms and conditions set forth in the Settlement Agreement, is in all respects

fair, reasonable, adequate, and in the best interests of the Settlement Class. The Court therefore

grants final approval to the Settlement of this Litigation in accordance with the terms of the

Settlement Agreement.

       7.      The Court orders the parties to the Settlement Agreement to perform their

obligations thereunder pursuant to the terms of the Settlement Agreement.




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       8.      The Court dismisses the Litigation, and all claims and causes of action asserted

therein, on the merits and with prejudice. This dismissal is without costs to any party, except as

specifically provided in the Settlement Agreement.

       9.      This Final Approval Order and the judgment of dismissal with prejudice set forth

herein is binding on all Settlement Class Members.

       10.     Plaintiff and Settlement Class Members are permanently barred and enjoined

from asserting, commencing, prosecuting or continuing any of the Released Claims described in

the Settlement Agreement against any of the Released Parties.

       11.     The Court adjudges that the Class Representative and all Settlement Class

Members shall, to the extent provided in the Settlement Agreement, conclusively be deemed to

have released and discharged the defendants Cavalry Portfolio Services, LLC and Cavalry SPV

I, LLC (collectively “Cavalry”) and all other Released Persons from any and all of the Released

Claims as provided in the Settlement Agreement.

       12.     Without affecting the finality of this Final Approval Order in any way, the Court

retains jurisdiction over: (a) implementation and enforcement of the Settlement Agreement

pursuant to further orders of the Court until the final judgment contemplated hereby has become

effective and each and every act agreed to be performed by the parties hereto shall have been

performed pursuant to the Settlement Agreement; (b) any other action necessary to conclude this

settlement and to implement the Settlement Agreement; and (c) the enforcement, construction,

and interpretation of the Settlement Agreement.

       13.     The Plaintiff and Class Counsel have moved for an award of attorneys’ fees, costs

and expenses in the amount of $284,167. The Court finds that Class Counsel’s requested award

of attorneys’ fees, costs and expenses is fair and reasonable, and the Court approves of Class




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Counsel attorneys’ fees, costs and expenses in this amount. The Court directs the Settlement

Administrator to disburse this amount to Class Counsel from the Settlement Fund as provided in

the Settlement Agreement.

         14.   Neither this Final Approval Order nor the Settlement Agreement is an admission

or concession by Cavalry of any fault, omission, liability, or wrongdoing. This Final Approval

Order is not a finding of the validity or invalidity of any claims in this action or a determination

of any wrongdoing by Cavalry. The final approval of the Settlement Agreement does not

constitute any opinion, position, or determination of this Court, one way or the other, as to the

merits of the claims and defenses of the Settlement Class Members or Cavalry.

         15.   Settlement Class Members were given an opportunity to object to the Settlement.

There being no objections, the Court finds that no just reason exists for delay in entering this

Final Approval Order. Accordingly, the Clerk is hereby directed forthwith to enter this Approval

Order.

         16.   Should the Settlement not become effective and final in accordance with its terms,

this Final Approval Order shall be rendered null and void to the extent provided by and in

accordance with the Settlement Agreement and shall be vacated and, in such event, all orders and

releases delivered in connection herewith shall be null and void to the extent provided by and in

accordance with the Settlement Agreement.

         SO ORDERED, on this, the ____ day of _________________, 2016.




                                               HONORABLE PATTI B. SARIS
                                               UNITED STATES DISTRICT JUDGE




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